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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

   JOE ANDREW SALAZAR,

                 Plaintiff,
                                               Civil Action No. 2:16-cv-01096-JRG-RSP
          v.
                                                     JURY TRIAL DEMANDED
   HTC CORPORATION,                                      PATENT CASE

                 Defendant.



               HTC CORPORATION’S MOTION FOR SUMMARY JUDGMENT
                 OF NON-INFRINGEMENT OF THE ASSERTED CLAIMS
                              OF THE ’467 PATENT



   Jerry R. Selinger                            Fred I. Williams
   State Bar No. 18008250                       State Bar No. 00794855
   Email: jselinger@pattersonsheridan.com       Email: fwilliams@velaw.com
   Trampas A. Kurth                             Mario A. Apreotesi
   State Bar No. 24055807                       State Bar No. 24080772
   Email: tkurth@pattersonsheridan.com          Email: mapreotesi@velaw.com
   PATTERSON + SHERIDAN, LLP                    VINSON & ELKINS LLP
   1700 Pacific Avenue, Suite 2650              2801 Via Fortuna, Suite 100
   Dallas, Texas 75201                          Austin, Texas 78746
   Tel: 214.272.0957                            Tel: 512.542.8400
   Fax: 713.623.4846                            Fax: 512.542.8612

   Harry Lee Gillam, Jr.                        Todd E. Landis
   State Bar No. 07921800                       State Bar No. 24030226
   Email: gil@gillamsmithlaw.com                Email: tlandis@velaw.com
   GILLAM & SMITH, LLP                          VINSON & ELKINS, LLP
   303 South Washington Avenue                  2001 Ross Avenue, Suite 3700
   Marshall, Texas 75670                        Dallas, Texas 75201
   Tel: 903.934.8450                            Tel: 210.220.7700
   Fax: 903.934.9257                            Fax: 210.220.7716

   ATTORNEYS FOR DEFENDANT
   HTC CORPORATION
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          Defendant HTC Corporation (“HTC Corp.”) is entitled to summary judgment on all

   asserted claims of U.S. Patent No. 5,802,467 (“the ’467 Patent”). In particular, summary judgment

   of non-infringement should be granted for the following reasons:

                 1.      Plaintiff Joe Andrew Salazar (“Salazar”) cannot show infringement of the

          asserted claims because the Accused Instrumentalities as sold do not have memory

          “configured” to store a plurality of parameter sets.

                 2.      Salazar cannot show infringement of the asserted claims because the

          Accused Instrumentalities do not include the claimed “infra-red frequency transceiver” that

          transmits to and receives from the same external devices.

                 3.      Salazar cannot show infringement of the asserted claims because the

          Accused Instrumentalities do not include the claimed “transceivers” that send and receive

          signals in accordance with each of the identified “communication protocols.”

                 4.      HTC Corp. is entitled to summary judgment of non-infringement for each

          of the asserted claims because the Accused Instrumentalities do not “create” or “generate”

          communication protocols.

                 5.      Salazar cannot show infringement of the asserted claims because the

          Accused Instrumentalities do not include the claimed “a microprocessor” that carries out

          each and every claimed function.

                 6.      Salazar has failed to carry its burden of proving indirect infringement,

          willful infringement, or infringement under the doctrine of equivalents.

                 7.      Salazar cannot show infringement for the HTC One M9 or HTC One M8

          for Windows because his infringement expert failed to provide any opinion or analysis

          regarding those devices.



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                  8.      Salazar cannot show direct infringement for the Accused Instrumentalities

          retailed by Sprint/United Management Company (“Sprint”) because non-party HTC

          America, Inc.—not the defendant in this case, HTC Corp.—is the importer of record and

          the entity that offered to sell (and sold) those devices to Sprint in the United States.

                  9.      HTC Corp. is entitled to summary judgment of non-infringement for claims

          10, 14, 17, 23, 26, 31, and 32 of the ’467 Patent because Salazar has stipulated to dismiss

          these claims.

                       STATEMENT OF UNDISPUTED MATERIAL FACTS

          1.      HTC Corp. is a Taiwanese corporation headquartered in Taiwan. See Ex. C at 26:9-

   13.

          2.      The accused HTC-brand smartphones consist of the One M7, One M8, One M8 for

   Windows, and One M9 smartphones (“the Accused Instrumentalities”).                     The Accused

   Instrumentalities are manufactured by HTC Corp. in Taiwan. Selinger Decl., Ex. A at 19:18-23.

          3.      Salazar asserts that the Accused Instrumentalities infringe claims 1-7, 27-30, and

   34 of the ’467 Patent (the “Asserted Claims”). Compare Selinger Decl., Ex. E at 1 (asserting

   claims 1-7, 10, 14, 17, 23, 26-32, and 34), with Selinger Decl., Ex. Q (Salazar stipulating to no

   longer asserting claims 10, 14, 17, 23, 26, 31, and 32).

          4.      Claims 1 and 34 are the only asserted independent claims.

          5.      The HTC One M7 and One M8 Accused Instrumentalities included the Android-

   based Sense TV application. Selinger Decl., Ex. G at 17:4-9. The HTC One M8 for Windows

   Accused Instrumentality included the Windows-based Sense TV application. See id.




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            6.    The HTC One M9 Accused Instrumentality did not include the Sense TV

   application. Id. at 17:4-19. The HTC One M9 utilized the Peel Smart Remote application, not the

   Sense TV application. Selinger Decl., Ex. H at 14:11-15.

            7.    Roy A. Griffin III, Salazar’s infringement expert, provided an infringement report

   for Salazar, including a cover report and Exhibit C thereto (collectively, “the Griffin Report”), on

   December 29, 2017. Mr. Griffin’s cover report mentions the “Sense TV application” and the Peel

   Smart Remote application, but it does not opine that the Peel Smart Remote or Windows-based

   Sense TV applications infringe. Selinger Decl. ¶¶ 21-23.

            8.    Exhibit C to the Griffin Report identifies the Sense TV application as allegedly

   meeting several limitations of each asserted independent claim. Selinger Decl., Ex. F at 4, 11, 73,

   76-80.

            9.    The Griffin Report does not include an element-by-element infringement analysis

   for the Peel Smart Remote application comparable to the analysis in Mr. Griffin’s Exhibit C for

   the Sense TV application. Selinger Decl. ¶ 21.

            10.   Mr. Griffin did not review the source code of the Windows-based Sense TV

   application for the One M8 for Windows when that code was made available for review under the

   Protective Order in this case. Selinger Decl. ¶ 22-23. And HTC Corp. did not provide any printed

   pages of the source code for the Sense TV application for Windows to Mr. Griffin. Id. at ¶ 22.

            11.   The Griffin Report describes reverse engineering two versions of the Sense TV

   application, but Mr. Griffin concedes that the apk files corresponding to those two versions of the

   Sense TV application were both Android versions. See Selinger Decl., Ex. E at ¶¶ 44-46. The

   Griffin Report does not offer any opinion as to the source code for the Sense TV application for

   the One M8 for Windows. Selinger Decl. ¶ 23.



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          12.     Until a user goes through a configuration process in the Sense TV and Peel Smart

   Remote applications, the Accused Instrumentalities cannot be used to control any external devices.

   Selinger Decl., Ex. O at 77:24-78:18 (agreeing that consumers cannot control external devices

   until “after he goes through the configuration process that’s required”); Ex. H at 15:1-16:5 (stating

   that to set up the Peel Smart Remote application a user has to specify “what kind of TV he has,

   and then the Peel application downloads the code from the servers for the particular TV”).

          13.     The Accused Instrumentalities as sold do not contain any parameter sets or

   command codes. Selinger Decl., Ex. H at 17:8-23. Command codes must be downloaded over

   the Internet from Peel servers to the Accused Instrumentalities. Id. at 15:1-16:5.

          14.     Mr. Griffin’s “demo application” described in the Griffin Report was developed by

   Christopher Byler. See, e.g., Selinger Decl., Ex. F at 7-8; Selinger Decl., Ex. K at 59:16-60:17.

   The Griffin “demo application” was not present on any Accused Instrumentality as sold. See

   Selinger Decl., Ex. K at 60:18-62:15.

          15.     The IR transceiver in the Accused Instrumentalities cannot send or receive signals

   in accordance with RF communication protocols. Selinger Decl., Ex. O at 19:25-20:15 (“Protocols

   are dealing with different kinds of technology, one having an IR transmission capability, which an

   RF protocol will not. And one having an RF capability that the IR transceiver will not.”).

   Specifically, the IR transceiver in the Accused Instrumentalities cannot communicate in

   accordance with Wi-Fi, Bluetooth, or NFC protocols. Id. at 49:19-50:20 (agreeing that the IR

   transceiver does not operate with respect to Wi-Fi, Bluetooth, or NFC protocols).

          16.     The RF transceivers in the Accused Instrumentalities cannot send or receive signals

   in accordance with IR communication protocols. See id. at 19:25-20:15 (stating that “protocols




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   are dealing with different kinds of technology”); 35:4-8 (agreeing that identified RF transceivers

   in the Accused Instrumentalities do not operate in IR frequency spectrum).

          17.      The communication rules for IR protocols are created by third-parties, not HTC

   Corp. Id. at 26:3-6 (agreeing that NEC makes rules for NEC IR protocol), 27:2-15 (“But I would

   agree with you that [IR] chip manufacturers will often design what that [IR] protocol will look

   like.”), 27:16-28:2 (agreeing that HTC “likely” does not create protocol rules for the NEC

   protocols), 28:3-8 (agreeing that HTC “likely” does not create protocol rules for IR protocols used

   by the Accused Instrumentalities). The communication rules for Bluetooth protocols are created

   and managed by third-party standards bodies, including the Bluetooth Special Interest Group and

   IEEE. Selinger Decl., Ex. P at 1. The communication rules for Wi-Fi protocols are created and

   managed by IEEE, a third-party standards body. See Selinger Decl., Ex. I. The communication

   rules for NFC protocols are created and managed by third-party standards bodies. Selinger Decl.,

   Ex. L at 5-6.

          18.      Each Accused Instrumentality uses the MAXQ614 microcontroller for infra-red

   (“IR”) frequency transmissions. Selinger Decl., Ex. B at 18:5-19:14.

          19.      The MAXQ614 microcontroller generates the IR carrier waveform and modulates

   the carrier waveform with the appropriate data. Selinger Decl., Ex. J at HTC011331 (MAXQ614

   specification describing “automatic IR carrier frequency generation and modulation), HTC011341

   (“During IR transmission (IRMODE = 1), the carrier generator creates the appropriate carrier

   waveform, while the carrier modulator performs the modulation.”); Ex. O at 44:24-47:3 (agreeing

   that MAXQ614 creates the IR signal that is to be transmitted).

          20.      The ’467 Patent issued on September 1, 1998, and expired on September 28, 2015.

   The Complaint was filed on October 5, 2016, after the ’467 Patent expired. Dkt. No. 1.



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           21.     Before filing this lawsuit, Mr. Salazar did not provide notice to HTC Corp. of the

    existence of the ’467 Patent or that he believed any of the four Accused Instrumentalities infringed.

    Selinger Decl., Ex. C at 96:16-18; Selinger Decl., Ex. D at 10-11. No products marked with the

    ’467 Patent number were sold after 2005. Id. at 11.

           22.     HTC Corp.’s first notice of any alleged infringement of the ’467 Patent came after

    Mr. Salazar filed this lawsuit in 2016. HTC Corp.’s first knowledge of the ’467 Patent was after

    Mr. Salazar filed this lawsuit in 2016. Wiggins Decl. ¶ 4.

           23.     Effective June 1, 2010, non-party HTC America, Inc. became a distributor for HTC

    Corp. in the United States and the importer of record for all HTC-brand smartphones, including

    the Accused Instrumentalities, into the United States. Selinger Decl., Ex. A at 14:3-5; 15:4-8, 14-

    20, 22; 45:6-11. Title to all HTC-branded smartphones passes to HTC America, Inc., outside of

    the United States. Selinger Decl., Ex. A at Dep. Ex. 2 at HTC037534 (Section 7.2).

           24.     After June 1, 2010, offers for sale and sales in the United States of HTC-brand

    smartphones to Sprint, including the Accused Instrumentalities, were made by non-party HTC

    America, Inc. Selinger Decl., Ex. M (Master Purchase Agreement between HTC Corp. and Sprint

    for the supply of HTC-branded products), Selinger Decl., Ex. N at 2 (amending Master Purchase

    Agreement between HTC Corp. and Sprint to assign to HTC America, Inc. rights to receive and

    process purchase orders, issue invoices, and receive payments); see also Selinger Decl., Ex. A at

    36:14-15, 17-23; 45:12-25; 46:1-7, 15-17, 19-21, 25; 47:1, 3-25; 48:1-19.

           25.     Sales of the Accused Instrumentalities began in 2013. Selinger Decl., Ex. A at

    12:13-15.

           26.     The Griffin Report claims that Mr. Griffin provides a doctrine of equivalents

    analysis. Selinger Decl., Ex. E ¶¶ 33-35, 37. The Griffin Report, however, does not include any



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    doctrine of equivalents analysis purporting to show that any portion of the Accused

    Instrumentalities meets the “function-way-result” test or that any differences are only

    “insubstantial.” Selinger Decl. ¶ 20. The Griffin Report purports to assert both literal infringement

    and infringement under the doctrine of equivalents for every limitation of every asserted claim

    (in the right-hand column of Mr. Griffin’s table), but it lacks any opinion or analysis that any

    portion of the accused structure meets any claim limitation under the “function-way-result” test or

    that any differences were only “insubstantially different.” Id.; see also Selinger Decl., Ex. F at 1-

    3.

           27.     The operative complaint asserts induced infringement. Dkt. 44, ¶¶ 21-22. The

    Griffin Report fails to identify any evidence of underlying acts of direct infringement by any third

    party. Selinger Decl. ¶ 24.

           28.     The operative complaint does not assert contributory infringement. See Dkt. 44.

    The Griffin Report fails to offer any opinion that the Accused Instrumentalities have no substantial

    non-infringing uses. Selinger Decl. ¶ 25.

                                        LEGAL BACKGROUND

           Summary judgment is appropriate when “there is no genuine dispute as to any material

    fact.” Fed. R. Civ. P. 56(a). The moving party bears the burden of demonstrating the absence of

    genuine issues of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 330 (1986). The moving

    party, however, need not produce evidence showing the absence of a genuine issue of material

    fact, but rather may discharge its burden by showing the district court that there is an absence of

    evidence to support the nonmoving party’s case. Copelands’ Enters. v. CNV, Inc., 945 F.2d 1563,

    1565 (Fed. Cir. 1991) (citing Celotex, 477 U.S. at 325). The nonmoving party must provide more

    than the conclusory opinions of an expert to preclude a summary judgment finding; instead, the



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    nonmoving party must provide specific facts showing that there is a genuine issue for trial. See

    Novartis Corp. v. Ben Venue Labs., Inc., 271 F.3d 1043, 1050-51, 1055 (Fed. Cir. 2001)

    (conclusory expert testimony is not entitled to weight at summary judgment).

           Here, Salazar bears the burden of proof on infringement. As a matter of law, there is no

    infringement (literal or otherwise) if even a single claim limitation is missing from the Accused

    Instrumentalities. Becton Dickinson & Co. v. C.R. Bard, Inc., 922 F.2d 792, 798 (Fed. Cir. 1990);

    KCJ Corp. v. Kinetic Concepts, Inc., 223 F.3d 1351, 1358 (Fed. Cir. 2000). Devices that do not

    infringe an independent claim do not infringe any of its dependent claims. Wahpeton Canvas Co.

    v. Frontier, Inc., 870 F.2d 1546, 1552 n.9 (Fed. Cir. 1989) (citation omitted).

           The issue of infringement is amenable to summary judgment when, inter alia, no

    reasonable fact finder could find infringement. Akzo Nobel Coatings, Inc. v. Dow Chemical Co.,

    811 F.3d 1334, 1339 (Fed. Cir. 2016) (citing Warner-Jenkinson Co. v. Hilton Davis Chem. Co.,

    520 U.S. 17, 29, 39 n. 8 (1997)). That situation exists when the accused technology is complex,

    involving matters beyond the comprehension of a layperson, and the expert fails to opine that

    structure in the accused device meets every claim limitation. See, e.g., Centricut, LLC v. ESAB

    Grp., Inc., 390 F.3d 1361, 1369-70 (Fed. Cir. 2004). The infringement analysis is “a two-step

    process in which [courts] first determine the correct claim scope, and then compare the properly

    construed claim to the accused device to determine whether all of the claim limitations are present

    either literally or by a substantial equivalent.” Renishaw PLC v. Marposs Societa’ per Azioni, 158

    F.3d 1243, 1247-48 (Fed. Cir. 1998). For literal infringement, “every limitation set forth in a claim

    must be found in an accused product, exactly.” Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d

    1570, 1575 (Fed. Cir. 1995). For infringement under the doctrine of equivalents, a patentee must

    demonstrate an “insubstantial difference” between the claimed invention and the accused product.



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    AquaTex Indus., Inc. v. Techniche Sols., 479 F.3d 1320, 1326 (Fed. Cir. 2007) (citing Graver Tank

    & Mfg. v. Linde Air Prods. Co., 339 U.S. 605, 608 (1950)).

                                             ARGUMENT

    I.     HTC Corp. Is Entitled To Summary Judgment Of Non-infringement Because The
           Accused Instrumentalities Do Not Satisfy Each And Every Limitation Of The
           Asserted Claims.

           Direct infringement of the Asserted Claims requires that the Accused Instrumentalities

    satisfy each and every limitation. Because the Accused Instrumentalities fail to satisfy several

    limitations of the asserted independent claims (specifically, claims 1 and 34), summary judgment

    of non-infringement should be granted for all Asserted Claims.

           A.      Salazar cannot show that the Accused Instrumentalities include a memory
                   device “configured to store a plurality of parameter sets” as sold.

           Summary judgment of non-infringement should be granted on all Asserted Claims because

    the Accused Instrumentalities do not include a memory device “configured to store a plurality of

    parameter sets.” Each of the asserted independent claims require “a memory device coupled to

    said microprocessor configured to store a plurality of parameter sets.” ’467 Patent at 26:1-3,

    30:16-17.

           The Accused Instrumentalities do not contain a memory “configured” to store parameter

    sets. It is undisputed that the Accused Instrumentalities contain a memory that is capable of being

    configured to store command data received from the Peel servers. See Undisputed Material Fact

    (“UMF”) Nos. 12-13 (providing that command data can be downloaded from Peel servers after

    the configuration process is completed). But it is also undisputed that the memories within the

    Accused Instrumentalities do not have any memory spaced allocated for the storage of “parameter

    sets” or command data received from the Peel servers when sold. See UMF No. 13. This is

    because while it is undisputed that the Accused Instrumentalities are sold with the Android-based


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    Sense TV application, the Windows-based Sense TV application, or the Peel Smart Remote

    application, it is also undisputed that those applications cannot be used on the Accused

    Instrumentalities to control external devices until a user completes a configuration process by

    connecting the Accused Instrumentalities over the Internet to Peel’s servers, selecting a specific

    device to control, and downloading command data for that device from Peel’s server. UMF Nos.

    5, 6, 12, and 13. Until such configuration process occurs, it is undisputed that the Accused

    Instrumentalities do not contain any “parameter sets” and do not have any memory space allocated

    to store such parameter sets.

           The mere capability of the Accused Instrumentalities to be configured to store parameter

    sets is not sufficient to prove infringement. This Court has consistently held that “configured to”

    in fact “require[s] not merely being capable of being configured, but rather being actually

    configured.” SIPCO, LLC v. Amazon.com, Inc, No. 2:08-CV-359-JRG, 2012 WL 5195942, at *56

    (E.D. Tex. Oct. 19, 2012); see also SIPCO, LLC v. ABB, Inc., No. 6:11-CV-0048 LED-JDL, 2012

    WL 3112302, at *10-11 (E.D. Tex. Jul. 30, 2012) (holding that the term “memory configured to”

    “requires that the memory is actually programmed or configured to store the data”).1 Mr. Griffin

    opines that the “memory device” limitation is satisfied because the Accused Instrumentalities

    include memory that is “capable of being configured” to store a plurality of parameter sets.

    Selinger Decl., Ex. K at 158:6-160:11 (emphasis added). HTC Corp. does not dispute that the

    memory of the Accused Instrumentalities is capable of being configured. See UMF No. 13. But

    mere capability to store parameter sets is not sufficient. The Accused Instrumentalities must be


    1
      See also Solocron Media, LLC v. Verizon Comm’s, Inc., No. 2:13-CV-1059-JRG-RSP, 2015 WL
    1011310, at *12 (E.D. Tex. Mar. 4, 2015) (following SIPCO, LLC v. Amazon.com, Inc.); Aspex
    Eyewear v. Marchon Eyewear, Inc., 672 F.3d 1335, 1349 (Fed. Cir. 2012) (“adapted to” construed
    to mean “configured to,” which requires that the device be actually so configured, not merely
    capable of configuration).

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    “actually configured” to store parameter sets and the undisputed facts demonstrate that they are

    not. Because the Accused Instrumentalities as sold are not “actually configured” to store a plurality

    of parameter sets, summary judgment of non-infringement should be entered on all Asserted

    Claims.

           B.      Salazar has failed to show that the Accused Instrumentalities include the
                   claimed “infra-red transceiver” capable of bi-directional communication.

           Summary judgment of non-infringement should be entered on all Asserted Claims because

    the Accused Instrumentalities do not include the claimed “infrared transceiver.” All of the

    Asserted Claims require an “infra-red [(“IR”)] frequency transceiver coupled to said

    microprocessor for transmitting to said external devices and receiving from said external devices.”

    The term “said external devices” in this limitation refers back to “a plurality of external devices”

    recited in the preamble. See ’467 patent at 25:57-59 (preamble of claim 1). Because the claimed

    IR transceiver transmits to “said external devices” and receives from the same “said external

    devices,” Salazar must show that the Accused Instrumentalities include an IR transceiver capable

    of bi-directional IR communication with at least two external devices. It is insufficient that a

    transceiver transmits to one external device and receives from a different device. The claim

    language requires that an accused IR transceiver must be capable of transmitting to at least two

    separate external devices and receiving from the same at least two external devices. The Accused

    Instrumentalities do not have such an IR transceiver.

           In fact, summary judgment of non-infringement should be granted because Salazar has

    failed to show that the Accused Instrumentalities include an IR transceiver that transmits IR signals

    to and receives IR signals from even one external device, let alone a plurality of external devices.

    Mr. Griffin opines that “[t]he accused HTC One phones have an IR transceiver for transmitting IR

    signals to external devices, and receiving IR signals from external devices using infrared frequency


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    signals.”   Selinger Decl., Ex. F at 12.      Mr. Griffin merely identifies generic, unspecified

    “televisions, cable TV boxes, and other devices” as the external devices. Id. at 2. He has not,

    however, identified any specific external devices with which the Accused Instrumentalities as sold

    could bi-directionally communicate. Mr. Griffin’s conclusory opinions merely show that the

    Accused Instrumentalities could transmit IR signals and receive IR signals—which HTC Corp.

    does not dispute. But that opinion falls well short of Salazar’s infringement burden to provide

    evidence that the Accused Instrumentalities could transmit IR signals to and receive IR signals

    from the same external devices. Accordingly, summary judgment of non-infringement of all

    Asserted Claims should be granted.

           Mr. Griffin’s “demo application” does not show direct infringement by the Accused

    Instrumentalities because it constitutes a clear “modification.” Apparatus claims, like the Asserted

    Claims here, are not directly infringed if the accused products must be modified to utilize the

    claimed function. See Nazomi Comm’ns v. Nokia Corp., 739 F.3d 1339, 1345-46 (Fed. Cir. 2014)

    (affirming summary judgment of non-infringement because “[t]he purchase and installation of

    [software] clearly constitutes a ‘modification’ of the accused products”). It is undisputed that the

    Griffin “demo application” was not included in any Accused Instrumentality as sold. UMF No. 14.

    It is also undisputed that the “demo application” was developed by Mr. Griffin’s colleague during

    the course of this lawsuit. Id. As a result, the development and installation of the demo application

    “clearly constitutes a modification” of the Accused Instrumentalities, and Salazar cannot rely on

    it to avoid summary judgment of non-infringement. See Nazomi Comm’ns, 739 F.3d at 1345-46;

    see also Telemac Cellular Corp. v. Topp Telecom, Inc., 247 F.3d 1316, 1330 (Fed. Cir. 2001)

    (“[T]hat a device is capable of being modified to operate in an infringing manner is not sufficient,

    by itself, to support a finding of infringement.”); High Tech Med. Instrumentation, Inc. v. New



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    Image Indus., Inc., 49 F.3d 1551, 1555-56 (Fed. Cir. 1995) (stating that the fact that the accused

    device could be altered in a way that satisfies the claim term did not lead to infringement).

              C.     Salazar cannot show that the Accused Instrumentalities include the claimed
                     “transceivers” that communicate “in accordance with said communication
                     protocols.”

              Summary judgment of non-infringement should be entered on all Asserted Claims because

    the Accused Instrumentalities do not include a transceiver that operates “in accordance with said

    communication protocols.” The Asserted Claims require a microprocessor that creates “a plurality

    of reprogrammable communication protocols.”2           They also require an IR transceiver “for

    transmitting to said external devices and receiving from said external devices, infra-red

    frequency signals in accordance with said communications protocols.” Because the IR

    transceiver in the Accused Instrumentalities does not communicate in accordance with each and

    every accused communication protocol, the Accused Instrumentalities do not infringe.

              The IR transceiver in the Accused Instrumentalities does not communicate in accordance

    with RF protocols. UMF No. 15. Mr. Griffin identifies the “plurality of reprogrammable

    communication protocols” as including RF communication protocols (specifically, Bluetooth, Wi-

    Fi, and NFC protocols) and unspecified IR communication protocols:




    2
        Specifically, the “microprocessor” limitation of each asserted independent claim recites:
                     a microprocessor for generating a plurality of control signals used
                     to operate said system, said microprocessor creating a plurality
                     of reprogrammable communication protocols, for transmission
                     to said external devices wherein each communication protocol
                     includes a command code set that defines the signals that are
                     employed to communicate with each one of said external devices.

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    Selinger Decl., Ex. F at 1-2. Mr. Griffin then ipse dixit opines that an IR transceiver in the Accused

    Instrumentalities sends and receives “infrared frequency signals in accordance with said

    communications protocols.” Id. at 13. It is undisputed, however, that the IR transceiver in the

    Accused Instrumentalities cannot send or receive signals in accordance with the Bluetooth, Wi-Fi,

    or NFC communication protocols. UMF No. 15. Salazar has failed to show that the IR transceivers

    in the Accused Instrumentalities send infra-red frequency signals “in accordance with” each of




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    “said plurality of reprogrammable communication protocols” identified by Mr. Griffin. Summary

    judgment of non-infringement of all the Asserted Claims should therefore be granted.

           Claim 2 (along with claims 3 and 4 depending therefrom) also requires a RF transceiver

    “for transmitting to said external devices and receiving from said devices, radio frequency signals

    … in accordance with said communication protocols.” In other words, the RF transceiver must

    transmit and send signals in accordance with the same communication protocols identified for the

    “microprocessor” limitation of claim 1. For the “RF transceiver” limitation, Mr. Griffin opines

    that the Accused Instrumentalities include “a number of” RF transceivers that communicate in

    accordance with RF-based protocols. Selinger Decl., Ex. F at 13-15 (identifying cellular network

    transceivers, Wi-Fi transceiver, Bluetooth transceiver, and NFC transceiver). As with the IR

    transceiver, it is undisputed that the RF transceivers in the Accused Instrumentalities do not

    transmit and receive signals in accordance with IR communication protocols. UMF No. 16. As

    Salazar has failed to show that the RF transceivers in the Accused Instrumentalities transmit and

    receive radio frequency signals “in accordance with” each of the identified communication

    protocols, summary judgment of non-infringement of claims 2-4 should be granted.

           As a result, summary judgment of non-infringement of all Asserted Claims should be

    granted because the Accused Instrumentalities do not include transceivers that communicate “in

    accordance with said communication protocols.”

           D.      The Accused Instrumentalities do not “create” or “generate” communication
                   protocols as a matter of law.

           The Asserted Claims require the claimed “microprocessor” to “creat[e] a plurality of

    reprogrammable communication protocols, for transmission to said external devices” (element

    1[a]) and “generat[e] a communication protocol in response to said user selections” (element 1[c]).

    It is undisputed that a “communication protocol” is a set of rules that allow devices to communicate


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    with each other. See Selinger Decl., Ex. F at 2 (“A protocol establishes the communication rules

    for communicating with a device such as an external device.”). Salazar, therefore, must show that

    the Accused Instrumentalities include a microprocessor that “creates” and “generates” the

    communication rules for communicating with a plurality of external devices.

           HTC Corp. is entitled to judgment as a matter of law because the Accused Instrumentalities

    implement pre-existing communication protocols and do not “create” or “generate” the

    communication rules for those protocols. It is undisputed that the communication rules for the

    accused, unspecified IR protocols are created by third-parties—not HTC Corp. or the Accused

    Instrumentalities. UMF No. 17. It is also undisputed that the communication rules for the

    identified RF protocols are created by third-party standards bodies—not HTC Corp. or the

    Accused Instrumentalities. Id. As a result, the Accused Instrumentalities do not “create” or

    “generate” the IR protocols because they do not create the associated communication rules or bring

    those protocols into existence. Courts have routinely held that the plain and ordinary meaning of

    “creating” and “generating” requires bringing something into existence. See Trintec Indus., Inc.

    v. Top-U.S.A. Corp, 295 F.3d 1292, 1296-97 (Fed. Cir. 2002) (construing “creating” to “require

    more than simply using the computer as a conduit to convey information,” rather it requires “a

    substantive addition or modification of the artwork in the computer”).3 Here, Salazar has failed to

    show that the Accused Instrumentalities do more than simply implement IR protocols and

    summary judgment of non-infringement for all the Asserted Claims should be granted.



    3
     See also O2 Micro Int’l Ltd. v. Samsung Elecs. Co., No. 2:04-CV-323, 2006 WL 1804616, at *8
    (E.D. Tex. Jun. 28, 2006) (construing “generating” to mean “bringing into existence”); IAP
    Intermodal, LLC v. Nw. Airlines Corp., No. 2:04-CV-65, 2005 WL 6217423, at *8-9 (E.D. Tex.
    Sept. 7, 2005) (construing “creating” to mean “forming or making” and “generating” to mean
    “producing”); Reese v. Samsung Telecomm’ns Am., L.P., No. 2:05-CV-415-DF, 2006 WL
    6112195, at *12-13 (E.D. Tex. Dec. 5, 2006) (construing “generating” to mean “creating”).

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           E.      Salazar cannot show that the accused “microprocessor” carries out each and
                   every claimed function.

           HTC Corp. is entitled to summary judgment of non-infringement because the Accused

    Instrumentalities do not infringe the “a microprocessor” limitations of the Asserted Claims. Each

    of the asserted independent claims requires “a microprocessor” that is responsible for specific

    functions described in the remainder of the claim. Specifically, the claimed “microprocessor” of

    each Asserted Claim is responsible for (1) “generating a plurality of control signals used to operate

    said system,” (2) “creating a plurality of reprogrammable communication protocols,” (3)

    “recreat[ing] a desired command code set” from “a plurality of [retrieved] parameter sets,” and (4)

    “generating a communication protocol in response to said user selections.”

           The law requires that, regardless of whether “a microprocessor” is one microprocessor or

    multiple microprocessors, the accused microprocessor(s) must be able to perform all of the

    functions associated with the claimed “a microprocessor.” See In re Varma, 816 F.3d 1352, 1363

    (Fed. Cir. 2016). In re Varma involved the appeal of a claim construction from the Patent Trial

    and Appeal Board of the Patent and Trademark Office (the “Board”), in which the Board

    interpreted the claim phrase “a statistical analysis request corresponding to two or more selected

    investments.” Id. at 1358. The Board had concluded that the claim would be satisfied even if two

    requests would be necessary to accomplish an analysis of “two or more investments.” Id.. The

    Federal Circuit rejected the Board’s decision because the Board had focused on the indefinite

    article “a” in the phrase “a statistical analysis,” rather than on the claim language that follows. Id.

    at 1362-63. The Federal Circuit reasoned:

                   [T]he question is not whether there can be more than one request in
                   a claim-covered system: there can. Rather, the question is whether
                   ‘a’ can serve to negate what is required by the language following
                   ‘a’: a ‘request’ (a singular term) that ‘correspond[s]’ to ‘two or more
                   selected investments.’ It cannot.


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    Id. The Federal Circuit analogized this principle as follows: “For a dog owner to have ‘a dog that

    rolls over and fetches sticks,’ it does not suffice that he have two dogs, each able to perform just

    one of the tasks.” Id. at 1363. Thus, the Federal Circuit concluded:

                   In the present case, no matter how many requests there may be, no
                   matter the variety of the requests the system may receive, the system
                   must be adapted to receive a request that itself corresponds to at least
                   two investments.

    Id.

           The Accused Instrumentalities here do not infringe the Asserted Claims because they do

    not contain a microprocessor capable of performing each and every one of the required functions.

    Mr. Griffin identifies the claimed “microprocessor” for the accused HTC One M7 as the

    “Qualcomm Snapdragon 600, quad-core, 1.7 GHz microprocessor” (“Snapdragon 600”).4

    Selinger Decl., Ex. F at 1. As a result, the Snapdragon 600 must perform each of the claimed

    microprocessor functions, including the “recreate a desired command code set” function.5

    According to Salazar’s own expert, a “command code set” is a “set of signals that are the after-

    modulated signal.” Selinger Decl., Ex. K at 174:2-175:1. It is undisputed that it is the MAXQ614

    in the Accused Instrumentalities—not a generic “microprocessor” or the Snapdragon 600—that

    creates the modulated IR signals (or “after-modulated signals”) for transmission. UMF Nos. 18-

    19. Specifically, the MAXQ614 microcontroller generates the IR carrier waveform and modulates

    the carrier waveform with the command data. Id. Because the MAXQ614 “recreates” the alleged

    desired command code set, Salazar has failed to show any microprocessors capable of performing


    4
      Mr. Griffin does not identify the accused “microprocessor” in the HTC One M8, One M8 for
    Windows, or One M9 Accused Instrumentalities, but merely identifies a generic microprocessor
    in these devices.
    5
      HTC. Corp disputes that the Accused Instrumentalities “recreate command code sets” but, for
    purposes of this Motion, does not dispute Salazar’s allegation that the Accused Instrumentalities
    “recreate command code sets.”
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    each of the required functions. And so summary judgment of non-infringement should be entered

    on all Asserted Claims.

    II.    HTC Corp. Is Entitled To Summary Judgment Of No Indirect Infringement, No
           Willful Infringement, And No Infringement Under The Doctrine Of Equivalents.

           The Court should grant summary judgment of no indirect infringement, no willful

    infringement, and no infringement under the doctrine of equivalents because Salazar has failed to

    prove each claim.

           A.      Salazar cannot prove the “knowledge” element of indirect infringement
                   because HTC Corp. did not have notice of the ’467 Patent until after it expired.

           “[L]iability for inducing infringement attaches only if the defendant knew of the patent and

    that the induced acts constitute patent infringement.” Commil USA, LLC v. Cisco Sys., Inc., 135

    S.Ct. 1920, 1926 (2015) (internal quotations omitted) . “Like induced infringement, contributory

    infringement requires knowledge of the patent in suit and knowledge of patent infringement.” Id.

    And the patentee always bears the burden to show the underlying direct infringement for each

    instance of indirect infringement. Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 774 (Fed. Cir. 1993)

    (“Liability for either active inducement of infringement or contributory infringement is dependent

    upon the existence of direct infringement.”). Contributory infringement also requires that the

    patent owner “show that defendant knew that the combination for which its components were

    especially made was both patented and infringing and that defendant's components have no

    substantial non-infringing uses.” Cross Med. Prods., Inc. v. Medtronic Sofamor Danek, Inc., 424

    F.3d 1293, 1312 (Fed. Cir. 2005) (internal quotations omitted).

           Salazar’s operative complaint asserts induced infringement but not contributory

    infringement. UMF 27-28. HTC Corp. did not have notice of any alleged infringement or of the

    ’467 Patent itself before Salazar filed his complaint in 2016, by which time the ’467 Patent had

    already expired. UMF Nos. 20-22. For these reasons alone, HTC Corp. is entitled to partial

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    summary judgment of no indirect infringement. See Commil, 135 S.Ct. at 1926 (requiring that

    defendant knew of the patent to indirectly infringe).

           Summary judgment of no indirect infringement should be granted for two additional

    reasons. First, Mr. Griffin failed to identify any evidence of underlying acts of direct infringement

    by third parties. UMF No. 27; Joy Techs., supra. Second, Mr. Griffin failed to opine that any of

    the Accused Instrumentalities lack substantial non-infringing uses. UMF No. 28; Cross Med.

    Prods., supra. For each of these reasons also, HTC Corp. is entitled to summary judgment of no

    indirect infringement.

           B.      Salazar cannot prove the “culpable behavior” element of willful infringement
                   because HTC Corp. did not have notice of the ’467 Patent before it expired.

           In Halo Elecs., Inc. v. Pulse Elecs., Inc., the Supreme Court held that § 284 contains no

    explicit limit or condition on when a district court may award enhanced damages, but instead allows

    courts to “punish the full range of culpable behavior.” 136 S. Ct. 1923, 1931, 1933 (2016). This

    “sort of conduct warranting enhanced damages has been variously described in our cases as

    willful, wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or – indeed –

    characteristic of a pirate.” Id. at 1932. Enhanced damages, however, are generally reserved for

    an “egregious case of misconduct beyond typical infringement,” such as those “typified by willful

    misconduct.” Culpability is generally measured against the knowledge of the actor at the time of

    the challenged conduct. Id. at 1933.

           HTC Corp. is entitled to summary judgment of no willful infringement because HTC Corp.

    could not have acted with wanton disregard of Mr. Salazar’s patent rights. See Halo, 136 S.Ct. at

    1933. Given that it had no notice of the ’467 Patent until after it expired, UMF Nos. 20-22, HTC

    Corp. could not have acted in a way that could be described as “willful, wanton, malicious, bad-




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    faith, deliberate, consciously wrongful, flagrant, or – indeed – characteristic of a pirate.” Halo,

    136 S. Ct. at 1932.

           C.      Salazar cannot show infringement under the doctrine of equivalents because
                   he failed to proffer supporting expert opinion on “insubstantial differences.”

           Summary judgment of non-infringement under the doctrine of equivalents should be

    granted because Mr. Griffin failed to offer the required expert opinions. Salazar was required to

    provide “particularized testimony and linking argument on a limitation-by-limitation basis that

    created a genuine issue of material at as to equivalents.” See AquaTex Indus., 479 F.3d at 1328-

    29. “Generalized testimony as to the overall similarity between the claims and the accused

    infringer’s product or process will not suffice.” Id. at 1328 (quoting Texas Instruments, Inc. v.

    Cypress Semiconductor Corp., 90 F.3d 1558, 1567 (Fed. Cir. 1996)). Mr. Griffin’s cover report

    states that he provides a doctrine of equivalents analysis, but the Griffin Report does not provide

    any “particularized testimony.” In the right-hand column of his Exhibit C, Mr. Griffin provides

    conclusory assertions that each claim element of every Asserted Claim is both literally infringed

    and infringed under the doctrine of equivalents, simply by placing the same “L;D/E” designation

    in each and every row of his charts. UMF No. 26. Mr. Griffin, however, provides no opinion or

    linking argument in the cover report or Exhibit C as to any purportedly insubstantial differences

    between the claimed invention and the Accused Instrumentalities. Id. Because Salazar failed to

    provide the necessary expert opinions and arguments, HTC Corp. is entitled to summary judgment

    of non-infringement under the doctrine of equivalents. See AquaTex Indus., 479 F.3d at 1326,

    1328-29.




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    III.   HTC Corp. Is Entitled To Summary Judgment Of Non-infringement For The HTC
           One M9 And HTC One M8 For Windows Because Salazar Failed To Provide
           Supporting Expert Testimony.

           Summary judgment of non-infringement should be entered for all assertions against the

    HTC One M9 and One M8 for Windows because Salazar failed to provide expert testimony

    showing infringement. See Centricut, 390 F.3d at 1369-70 (stating expert testimony typically

    necessary in cases involving complex technology). In his Exhibit C, Mr. Griffin identified and

    analyzed the Sense TV application as infringing structure within the Accused Instrumentalities.

    But the written infringement analysis and opinions make no mention of the Peel Smart Remote

    application used exclusively in the One M9 (see UMF Nos. 7, 9) or the Windows-based Sense TV

    application on the One M8 for Windows (see UMF No. 10), therefore, failing to provide supporting

    argument for his conclusory opinions.

           Mr. Griffin mentions both the Sense TV application and the Peel Smart Remote application

    in his cover report, but wholly fails to opine that the Peel Smart Remote application infringes.

    UMF No. 7. Exhibit C to the cover report opines only that the “Sense TV application” is the

    structure within the Accused Instrumentalities that allegedly meets several limitations of the

    independent claims. Mr. Griffin’s cover report, however, does not provide any opinion or analysis

    indicating that the Peel Smart Remote application satisfies any of the claim limitations. UMF No.

    9. As a result, the Court should grant partial summary judgment of non-infringement for the HTC

    One M9.

           Similarly, the Court should grant partial summary judgment of non-infringement by the

    HTC One M8 for Windows because Salazar failed to provide expert testimony showing

    infringement. There is no mention of the Windows-based Sense TV application on the One M8

    for Windows in either the Griffin cover report or its Exhibit C, nor does either provide any analysis

    of it. Mr. Griffin did not review the source code of the Sense TV application for the One M8 for
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    Windows when it was produced for inspection. UMF No. 10. No pages of that source code were

    provided to Salazar. Id. Neither Mr. Griffin’s cover report nor his exhibit C addresses the source

    code of the Windows-based Sense TV application. UMF No. 11. Mr. Griffin’s failure to cite to

    source code for the Windows-based Sense TV application or provide any infringement analysis

    for this application warrants summary judgment of non-infringement by the One M8 for Windows.

    Centricut, supra.

    IV.    HTC Corp. Is Entitled To Summary Judgment Of Non-infringement For The
           Accused Instrumentalities Retailed By Sprint Because HTC Corp. Performed No
           Allegedly Infringing Acts In The United States.

           Only a defendant that “makes, uses, offers to sell or sells” a patented invention in the

    United States, or “imports into the United States” a patented invention can be a direct infringer.

    35 U.S.C. § 271(a) (emphasis added); see also Pellegrini v. Analog Devices, Inc., 375 F.3d 1113,

    1117 (Fed. Cir. 2004) (“[As] the U.S. Supreme Court explained nearly 150 years ago ... the U.S.

    patent laws do not, and were not intended to, operate beyond the limits of the United States.”)

    (citations omitted).

           HTC Corp. is a Taiwanese corporation. The Accused Instrumentalities are manufactured

    by HTC Corp. in Taiwan. UMF No. 2. On June 1, 2010, HTC America, Inc. became the importer

    of record for HTC-brand smartphones sold in the U.S., including the Accused Instrumentalities,

    taking title outside of the United States. UMF No. 23. Sales of the accused products began in

    2013. UMF No. 25. After June 1, 2010, offers for sale and sales in the United States of the

    Accused Instrumentalities retailed by Sprint were made by HTC America, Inc. UMF No. 24.

    Because it has committed no allegedly infringing acts in the United States, HTC Corp. cannot be

    liable for direct infringement for the Accused Instrumentalities retailed by Sprint. See Pellegrini,

    supra. HTC Corp. is therefore entitled to summary judgment that it did not infringe any asserted

    claim of the ’467 Patent for any of the Accused Instrumentalities retailed by Sprint.
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    V.     HTC Corp. Is Entitled To Summary Judgment Of Non-infringement For Claims 10
           And Its Dependents Because Salazar Has Stipulated To Dismiss These Claims.

           Salazar has stipulated to no longer assert claims 10, 14, 17, 23, 26, 31, and 32. UMF No.

    3. Given Salazar’s stipulation, summary judgment of non-infringement of claims 10, 14, 17, 23,

    26, 31, and 32 of the ’467 Patent should be granted.

                                            CONCLUSION

           HTC Corp. is entitled to summary judgment for all of the foregoing reasons.

    Dated: February 12, 2018                               Respectfully submitted by,

                                                           /s/ Jerry R. Selinger_______________
                                                           Jerry R. Selinger
                                                           State Bar No. 18008250
                                                           Email: jselinger@pattersonsheridan.com
                                                           Trampas A. Kurth
                                                           State Bar No. 24055807
                                                           Email: tkurth@pattersonsheridan.com
                                                           PATTERSON + SHERIDAN, LLP
                                                           1700 Pacific Avenue, Suite 2650
                                                           Dallas, Texas 75201
                                                           Tel: 214.272.0957
                                                           Fax: 713.623.4846

                                                           /s/ Fred I. Williams_______________
                                                           Fred I. Williams
                                                           TX Bar No. 00794855
                                                           Email: fwilliams@velaw.com
                                                           Mario A. Apreotesi
                                                           TX Bar No. 24080772
                                                           Email: mapreotesi@velaw.com
                                                           VINSON & ELKINS LLP
                                                           2801 Via Fortuna, Suite 100
                                                           Austin, Texas 78746
                                                           Tel: 512.542.8400
                                                           Fax: 512.542.8612




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                                                 Todd E. Landis
                                                 TX Bar No. 24030226
                                                 Email: tlandis@velaw.com
                                                 VINSON & ELKINS LLP
                                                 2001 Ross Avenue, Suite 3700
                                                 Dallas, Texas 75201
                                                 Tel: 210.220.7700
                                                 Fax: 210.220.7716

                                                 Harry Lee Gillam, Jr.
                                                 State Bar No. 07921800
                                                 Email: gil@gillamsmithlaw.com
                                                 GILLAM & SMITH, LLP
                                                 303 South Washington Avenue
                                                 Marshall, Texas 75670
                                                 Tel: 903.934.8450
                                                 Fax: 903.934.9257

                                                 ATTORNEYS FOR DEFENDANT
                                                 HTC CORPORATION




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                                      CERTIFICATE OF SERVICE


            I certify that on February 12, 2018 a true and correct copy of the foregoing document was
    electronically filed with the clerk of the court for the U.S. District Court, Eastern District of Texas,
    using the electronic case filing (“ECF”) system of the court. The attorneys of record who have
    consented in writing to accept notice as service of this document by electronic means are being
    served by a “Notice of Electronic Filing,” sent by the ECF system.


                                                           /s/ Fred I. Williams_______________
                                                           Fred I. Williams




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